 1   DEVIN DERHAM-BURK #104353
     CHAPTER 13 STANDING TRUSTEE
 2   P O Box 50013
     San Jose, CA 95150-0013
 3
     Telephone: (408) 354-4413
 4   Facsimile: (408) 354-5513
 5   Trustee for Debtor(s)
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 7
 8                            UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF CALIFORNIA - DIVISION 5
 9
10                                                )   Chapter 13
     In re:                                       )   Case No. 18-51921 SLJ
11                                                )
                                                  )   TRUSTEE’S OBJECTION TO
12                                                )   CONFIRMATION WITH CERTIFICATE OF
     DORIA YVETTE FRIAS                           )   SERVICE
13                                                )
                                                  )   341 Meeting: Date: OCTOBER 10, 2018 @
14                                                )   11:30 AM
                                                  )   Initial Confirmation Date: OCTOBER 24, 2018
15                                                )   Initial Confirmation Time: 1:25 PM
                                                  )   Place: 280 S. 1st Street Room 3099
16                                                )           San Jose, CA
                       Debtor(s)                  )   Judge: Stephen L. Johnson
17                                                )
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19   Devin Derham-Burk, Trustee in the above matter, objects to the Confirmation of this Plan for the

20   following reasons:
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22
         1. The Debtor is not pledging all of her projected disposable income to pay unsecured
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24            creditors as required by 11 U.S.C. § 1325(b)(1)(B). It appears the Debtor omitted her

25            support income from Form 122C-1. Furthermore, pursuant to the review of her pay
26            advices provided her average income appears to $4,065.02 per month. The Trustee
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              requests the Debtor amend Form 122C-1 to list her current income.
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        2. Pursuant to the review of the pay advices provided it appears that the Debtors average
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 2         monthly income is approximately $4,065.02 not $3,187.60 and her average monthly

 3         withholdings is approximately $1,074.01 not $871.85 as listed on Schedule I. The Debtor
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           must amend Schedule I & J accordingly. Because of this inconsistency, the Trustee cannot
 5
           determine whether the plan is feasible under 11 U.S.C. § 1325(a)(6). NOTE: It appears
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 7         the debtor receives commission income that have been omitted.

 8      3. The Debtor is not applying all her projected disposable income to make payments to
 9         unsecured creditors under the plan as required by 11 U.S.C. §1325(b)(1)(B). The Debtor is
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           proposing an unknown dividend to general unsecured creditors and their proposed monthly
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           Chapter 13 plan payment is $75.00. The Debtor’ proposed plan is below median, therefore
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13         disposable income is the Debtor’s current monthly income minus amount which are

14         “reasonably necessary” to be expended for the maintenance or support of the Debtor. The
15         Debtor’s Schedule J lists $971.75 in disposable income. The Trustee requests that the
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           Debtor amend the Chapter 13 Plan to propose a dividend to general unsecured creditors in
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           an amount commensurate with $971.75 per month in disposable income.
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19      4. The Debtor has failed to comply with 11 U.S.C. § 521(a)(1)(B)(iv) because the Debtor

20         has failed to provide the Trustee with a copy of her payment advice dated on or about
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           August 24, 2018. If the Debtor cannot provide a copy of the payment advice, a
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           declaration signed by the Debtor under penalty of perjury must be provided pursuant to
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24         General Order 32 of the United States Bankruptcy Court for the Northern District of

25         California. Pursuant to the order, the declaration must set forth the reasons that the pay
26         advice is unavailable and should state the Debtor’s estimate of payments received within
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           the 60 days before the petition date and provide other evidence, if any, of the payments
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 2         received.

 3      5. In order to assist the Trustee in determining whether the disposable income test in 11 U.S.C.
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           §1325(b)(1)(B) and/or the feasibility test in 11 U.S.C. §1325(a)(6) is met, the Trustee
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           requests that the Debtor provide her with a copy of each federal and state income tax return
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 7         and W-2 form required under applicable law with respect to each tax year of the Debtor’s

 8         ending while the case is pending confirmation. The tax return shall be provided to her at
 9         the same time it is filed with the taxing authority.
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13   Dated: October 4, 2018                               /S/ Devin Derham-Burk
                                                          ____________________________________
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                                                          Chapter 13 Trustee
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 1                            CERTIFICATE OF SERVICE BY MAIL
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            I hereby declare that I am over the age of 18 years, not a party to the within cause; my
 3
 4   business address is 983 University Ave., Bldg. C-100, Los Gatos, CA 95032. I served the within

 5   Objection to Confirmation, by placing same in an envelope in the U.S. Mail at Los Gatos,
 6
     California on October 4, 2018. Said envelopes were addressed as follows:
 7
 8
           DORIA YVETTE FRIAS                    THE MLNARIK LAW GROUP INC
 9          1052 AUDUBON DR                           2930 BOWERS AVE
10          SAN JOSE, CA 95122                      SANTA CLARA, CA 95051

11
12
13
                                                /S/__Clotilde Costa________________
14                                              Office of Devin Derham-Burk, Trustee
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